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              IN THE UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF ARKANSAS
                        CENTRAL DIVISION

                         *
J&B TANKERS, INC. and JAMES
WESTLAKE                 *
                PLAINTIFFS
                         *
                         *
V.                       *                  CASE NO. 4:20CV01277 SWW
                         *
                         *
NAVISTAR INTERNATIONAL   *
CORPORATION              *
               DEFENDANT *


                               JUDGMENT

     Consistent with the Order that was entered on this day, it is CONSIDERED,

ORDERED, and ADJUDGED that this action is DISMISSED WITH PREJUDICE.

     IT IS SO ORDERED THIS 2ND DAY OF DECEMBER, 2021.

                                             /s/ Susan Webber Wright
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                                        UNITED STATES DISTRICT JUDGE
